                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION




BRIGHT DATA LTD.                                      Case No. 2:21-cv-00225-JRG-RSP

               Plaintiff,                             FILED UNDER SEAL

       v.
                                                      JURY TRIAL DEMANDED
NETNUT LTD.

               Defendant.


            FIRST AMENDED COMPLAINT FOR PATENT INFRINGEMENT

       Plaintiff, Bright Data Ltd. (“Bright Data” or “Plaintiff”) brings this action under the patent

laws of the United States, Title 35 of the United States Code, and false advertising under Title 15

of the United States Code at section 1125(a), and makes the following amended allegations against

NetNut Ltd (“NetNut”):

                                         THE PARTIES

       1.      Plaintiff Bright Data is an Israeli company having a principal place of business at

3 Hamahshev St., Netanya 42507, ISRAEL.

       2.      Upon information and belief, NetNut is an Israeli company located at HaArba’a St

30, Tel Aviv, Israel.

                                JURISDICTION AND VENUE

       3.      This is an action for patent infringement under the patent laws of the United States

of America, 35 U.S.C. § 1, et seq, and false advertising under 15 U.S.C. § 1125(a), et seq.




                                                 1
       4.      This Court has jurisdiction over the subject matter of this action under 28 U.S.C.

§§ 1331, 1338, and/or 1367. NetNut has not contested subject matter jurisdiction of this Court,

and accepted service of process in the First Action (Luminati Networks Ltd. v. NetNut Ltd., No.

20-cv-188 (E.D. Tex)).

       5.      This Court has personal jurisdiction over NetNut because it, directly or through its

subsidiaries, divisions, groups, or distributors, has sufficient minimum contacts with this forum as

a result of business conducted within the State of Texas, and/or pursuant to Fed. R. Civ. P. 4(k)(2).

On information and belief, NetNut transacts substantial business in the State of Texas, directly or

through agents, including upon information and belief: (i) at least a portion of the infringement

alleged herein, and (ii) regularly does or solicits business in Texas, engages in other persistent

courses of conduct, maintains continuous and systematic contacts within this Judicial District,

purposefully avails itself of the privilege of doing business in Texas, and/or derives substantial

revenue from services provided in Texas. For example, Defendant advertises its proxy services,

including through its website and the Google Chrome Store, which are directed toward a global

audience including customers in the United States and Texas, and these advertisements, including

those that are subject of the false advertising claim, tout Defendant’s proxy services, including its

rotating residential proxy services, as being located throughout the world, including the United

States. Upon information and belief NetNut has customers for its proxy services located in Texas

which implement at least a portion of the infringement herein. In addition, NetNut utilizes

software, which is the subject of the infringement alleged herein, that is embedded in a number of

software applications which are placed into the stream of commerce with the knowledge,

understanding, and/or intention that they be downloaded and executed by devices located in the

State of Texas, as well as this Judicial District. Upon information and belief, the software



                                                 2
effectively turns the devices on which it is installed into peer-to-peer (“P2P”) residential proxy

devices that operate as part of NetNut’s “Rotating Residential Proxies” service under NetNut’s

control. The Accused Services (“Accused Services”) comprise NetNut’s “Rotating Residential

Proxies” and any substantially similar service including services that utilize proxy IP addresses

from client devices as well as NetNut’s “Static ISP Proxies” and any substantially similar service

including services that utilize proxy IP addresses. The Accused Services are offered, operated, and

provided by NetNut. NetNut has previously been subject to jurisdiction in this Court by the same

similar conduct in the First Action (see Para. 14, below).




https://netnut.io/static-residential-proxies/




                                                 3
https://netnut.io/rotating-residential-proxies/




https://netnut.io/rotating-residential-proxies/




https://netnut.io/proxy-use-cases/proxies-for-web-data-
extraction/?link=https%3A%2F%2Fnetnut.io%2Frotating-residential-proxies%2F
       6.      Upon information and belief, residential proxy devices with the embedded software

are located throughout the United States, including Texas. NetNut touts the use of millions of

rotating residential proxy devices including in the United States. NetNut also touts the ability to



                                                  4
select IP addresses by location based on city and state in the United States. Upon information and

belief, this includes cities in Texas.




Exhibit C, https://netnut.io/rotating-residential-proxies/




https://netnut.io/faq/#faq




https://netnut.io/faq/#faq




                                                  5
        7.      Upon information and belief, NetNut is subject to this Court’s jurisdiction because

it committed patent infringement in the State of Texas and this jurisdiction. This Court has general

jurisdiction over NetNut due to its continuous and systematic contacts with the State of Texas and

this jurisdiction.

        8.      Following Brunette Machine Works v. Kockum Industries, Inc., 406 U.S. 706

1972), venue is proper in this Court pursuant to 28 U.S.C. §§ 1391 and 1400(b) at least because,

upon information and belief, NetNut is a foreign entity.

                                  FACTUAL ALLEGATIONS

        9.      Derry Shribman and Ofer Vilenski are the sole inventors of a number of patents,

including U.S. Patent No. 10,257,319 (Exhibit A, “’319 Patent”) issued on November 5, 2019,

U.S. Patent No. 10,484,510 (Exhibit B, “’510 Patent”), U.S. Patent Nos. 10,491,713 (Exhibit C,

“’713 Patent”) issued on November 26, 2019, U.S. Patent No. U.S. 11,050,852 (Exhibit D, “’852

Patent”) issued on June 29, 2021, and U.S. Patent No. 11,044,346 (Exhibit E, “’346 Patent”) issued

on June 22, 2021 (collectively the “Asserted Patents”).

        10.     The ’319 Patent and ’510 Patent are divisionals sharing the same specification and

are both titled “System Providing Faster and More Efficient Data Communication.” The ’713

Patent the ’852 Patent and ’346 Patent are continuations sharing the same specification and are all

titled “System Providing Faster and More Efficient Data Communication.” Bright Data identifies

its ’319 and ’510 patents including on its website at https://Bright Data.io/patent-marking. Bright

Data is the assignee and sole owner of the Asserted Patents.

        11.     Bright Data, formerly known as Luminati Networks Ltd. (“Luminati”) and Hola

Networks Ltd. (“Hola”), provides a cloud service connecting tens of millions of devices over the

Internet through a proxy-based network. Each participating device allows the service to utilize a



                                                 6
fraction of that device’s idle time for the network. Bright Data utilizes this network to provide

proxy-based services to its customers.

       12.     Since 2014, Bright Data has offered proxy-based services relying on its

“Residential Proxy Network” that practice one or more claims of the Asserted Patents. Bright

Data permits its business customers to utilize its residential proxy network to gather data over the

Internet using residential proxy devices from various localities as required by the customers.

Because each of these residential proxy devices has its own residential IP address, web servers

receiving requests from these proxy devices do not recognize such requests as originating from the

actual user making the request. Instead, the server identifies the request as coming from a

residential device based upon the residential IP address of the proxy device. These residential

proxy devices provide businesses with a number of advantages. For example, online retailers may

anonymously use these residential proxy devices to gather information from web servers (such as

for comparative pricing), businesses may utilize these devices to test their web sites from any city

in the world, and cyber security firms may employ these devices to test web sites for malicious

code. Following Bright Data’s “Residential Proxy Network,” Bright Data subsequently introduced

related proxy services including its “ISP Proxies” and “Mobile Proxies,” (collectively with the

Residential Proxy Network referred to as “Bright Data Proxy Network”) which also practice one

or more claims of the Asserted Patents.

       13.     Prior to and separate from the technology at issue in this case, Hola provided a

virtual private network (“VPN”) service called HolaVPN.

       14.     On June 11, 2020, Bright Data filed the First Action against NetNut for

infringement of U.S. Patent Nos. 10,484,511 and 10,637,968 (the “Related Patents”). Luminati

Networks Ltd. v. NetNut Ltd., No. 20-cv-188-JRG-RSP, Dkt. No. 1 (E.D. Tex. June 11, 2020).



                                                 7
NetNut has filed ex parte reexamination requests with the PTO regarding the patents from the First

Action. Id., at Dkt. Nos. 48, 57. Fact discovery closed in the First Action on June 14, 2021. Id.,

at Dkt. No. 41.

       15.        The Related Patents asserted in the First Action against NetNut share the same

specification as the ’319, ’510, ’713, ’852 and ’346 Patents asserted in this case. Upon information

and belief, NetNut’s officers, including its CEO Barak Avitbul, are keenly aware of the entire

family of patents sharing the specification of the Related Patents, including the Asserted Patents.

Upon information and belief, NetNut officers are also aware of Bright Data’s patent marking

webpage, on which the Asserted Patents are listed. Upon information and belief, NetNut is aware

of other lawsuits that have been filed by Plaintiff alleging infringement of the asserted patents by

peer-to-peer “Rotating Residential Proxy” services like the Accused Services. NetNut has had

knowledge of the Asserted Patents and infringement since before the introduction of the Accused

Services, and has willfully infringed the Asserted Patents. Upon information and belief, NetNut

willfully concealed the development and release of its rotating residential proxy service in the

United States in order to avoid enforcement of the Asserted Patents.

       16.        Upon information and belief, “NetNut” is the brand name for Defendant’s proxy

business generally, including but not limited to the Accused Services. Upon information and

belief, this includes a peer-to-peer residential proxy network with over twenty-million residential

devices, each with its own IP address, and an ISP proxy network of approximately a million IP

addresses.




                                                 8
https://netnut.io/

         17.    NetNut touts their residential proxy service as including “US city and state proxy

selection.” See https://netnut.io/faq/#faq. Upon information and belief, the rotating residential

proxies have IP addresses that are “generated through real end-users devices.” Exhibit C,

https://netnut.io/rotating-residential-proxies/?link=https%3A%2F%2Fnetnut.io%2F.             Upon

information and belief, this residential proxy network is used to access content over the Internet,

wherein that content is identified by a content identifier. Upon information and belief, NetNut’s

peer-to-peer residential proxy network supports Accused Services, as shown in the images above.

Upon information and belief, these residential proxies include residential proxy devices located in

Texas.




                                                9
Exhibit C, https://netnut.io/rotating-residential-proxies/?link=https%3A%2F%2Fnetnut.io%2F.

       18.     Upon information and belief, the NetNut rotating residential proxy network of the

Accused Services is based upon numerous consumer devices or proxy client devices, such as

laptops and cell phones, each of which is a client device identifiable over the Internet by an

identifier, such as (but not limited to) an IP address. Upon information and belief, these client

devices become part of the network through the execution of software, such as by implementation

of a software development kit (“SDK”) that is embedded in software applications downloaded on

the client devices. Upon information and belief, these proxy client devices are available to receive

requests submitted through the Accused Services and send the requests to a target web server, as

well as sending any content received from the target web server to NetNut’s requesting customer

via an intermediary server of the Accused Services.

       19.     Upon information and belief, NetNut provides instructions on how to use the

Accused Services through different platforms as well as its own chrome extension application.




                                                10
https://netnut.io/rotating-residential-proxies/




see e.g.
https://netnut.io/integrations/?link=https%3A%2F%2Fnetnut.io%2F&link=https%3A%2F%2Fnetnut.io%
2Frotating-residential-proxies%2F%3Flink%3Dhttps%253A%252F%252Fnetnut.io%252F

       20.     Upon information and belief, NetNut controls client devices upon which NetNut’s

residential proxy network operates through SDK(s) installed on third-party client devices via

NetNut’s partner(s).

       21.     NetNut provides a residential proxy service through the Accused Services allowing

a NetNut customer to utilize peer-to-peer residential proxy devices in fetching content over the

Internet. Upon information and belief, SDKs supporting the Accused Services are installed on

residential devices causing the devices to perform the steps of at least claims 1, 17, 24, 25 and 27

of the ’319 Patent (U.S. Patent No. 10,257,319), and claims 1, 8, 13, 15, 16, 18, 20, 22, and 23 of

the ’510 Patent (U.S. Patent No. 10,484,510), at least claim 1, 11, 24 and 27 of the ’713 Patent

(U.S. Patent No. 10,491,713), and at least claim 1, 14, 25, and 28 of the ’852 Patent (U.S. Patent

No. 11,050,852). This embedded code is under the control of NetNut, either directly or via

NetNut’s contractual relationship with its partners. As this code is under the control of NetNut,

                                                  11
NetNut causes each of these steps to also be performed. In addition, given NetNut’s contractual

relationship with its customers, the customers utilization of the Accused Services also causes each

of the claimed steps to be performed.

       22.     Specifically, upon information and belief, NetNut’s rotating residential proxy

network comprises numerous proxy devices, each of which is a client device such as a laptop or

smartphone identifiable by its own identifier, such as (but not limited to) an IP address, with an

SDK operating on that device. Upon information and belief, the proxy devices of the Accused

Services send their identifiers to a server of the Accused Services, following the proxy client device

connecting to the Internet, and the proxy client devices and server of the Accused Services

communicate periodically thereafter.

       23.     Upon information and belief, the proxy client device is responsive to receiving a

request from the server of the Accused Services. Upon information and belief, having received a

request from a server of the Accused Services, the proxy client device is used to fetch content

identified by a content identifier over the Internet from a web server, which stores the content.

Upon information and belief, the proxy client device fetches content by (a) receiving a content

identifier from the server of the Accused Services; (b) sending the content identifier to the web

server; (c) receiving the content from the web server in response to the sending of the content

identifier to the web server; and (d) sending the content to the server of the Accused Services.

Upon information and belief, the above steps are executed including, for example, on the proxy

client device by NetNut’s software installed on that device, which can be downloaded on that

proxy client device from servers on the Internet.

       24.     Upon information and belief, the content may include a part or whole files, text,

numbers, audio, voice, multimedia, video, images, music, computer program, or a part or a whole



                                                 12
of a web-site page. Upon information and belief, the content may be identified by a uniform

resource locator.

        25.     Upon information and belief, web servers are or include Hypertext Transfer

Protocol (HTTP) servers that respond to HTTP requests including both normal HTTP and HTTPS

requests, and the proxy device may send an HTTP request comprising the content identifier to the

web server. Further, upon information and belief, the proxy device may establish Transmission

Control Protocol (TCP) connections with the server of the Accused Services and web server, with

the content identifier and content sent over the established TCP connections to and from the proxy

device. Similarly, upon information and belief, the proxy device may establish a TCP connection

with the web server.

        26.     Upon information and belief, each proxy device stores, operates, or uses a client

operating system including but not limited to a mobile operating system such as Android version

2.2, 2.3, 4.0, 4.2, 4.4, and Microsoft Windows Phone version 7, 8, and 9.

        27.     The use of the residential proxy network permits anonymity to NetNut customers,

such as for engaging in activities like as web crawling, without disclosing its identity to the targeted

web sites.

       28.      Upon information and belief, Defendant’s ISP Proxy Service is a web data

extraction product and service under the NetNut brand. https://netnut.io/static-residential-proxies.

Defendant touts their ISP Proxy Service as offering “premium static IPs” through “one-hop ISP

connectively with no dependency on an end user’s device.” Id. Defendant further touts that all its

“servers are located on major internet routes or at ISP network connectivity points that are

completely controlled by NetNut.” Id. Defendant further touts that its Proxy Service customers

can select IP addresses located in the United States as well as specific cities in the United States.



                                                  13
https://netnut.io/faq. Upon information and belief, the Proxy Service is used to access content

such as webpages, audio and video content over the Internet, wherein that content is stored on a

webserver and identified by a Uniform Resource Locator (URL). Upon information and belief,

NetNut’s ISP proxy network, comprises NetNut proxy servers and DiVi Redirectors, which serve

as intermediaries between NetNut’s proxy servers and the target web servers of a NetNut

customer’s requests.




https://netnut.io/static-residential-proxies




https://netnut.io/static-residential-proxies




                                               14
https://netnut.io/faq




https://netnut.io/faq




https://www.sec.gov/Archives/edgar/data/1725332/000121390020008198/f20f2019 safetgroup.

htm



        29.     In addition to their Rotating Residential Proxy Service, Defendant also provides an

ISP proxy service through the Accused Services allowing a NetNut customer to utilize the Accused
                                                15
Services in fetching content over the Internet. Upon information and belief, software installed on

customers’ devices, including but not limited to Defendant’s software including NetNut’s Chrome

extension and other software including software configured as instructed by NetNut on its

integrations webpage at https://netnut.io/integrations/, causes these devices to perform the steps of

at least claims 1 of the ’346 Patent (U.S. Patent No. 11,044,346). This code is under the control

of Defendant, either directly or via Defendant’s contractual relationship with its customers. As

this code is under the control of Defendant, Defendant causes each of these steps to also be

performed.    In addition, given Defendant’s contractual relationship with its customers, the

customers utilization of the Accused Services also causes each of the claimed steps to be

performed. Upon information and belief, client devices, including those controlled by Defendant’s

customers, can use the Accused Services to fetch content over the Internet by sending a query to a

server of the Accused Services. As discussed above, upon information and belief, this query can

comprise a URL corresponding with a webpage, audio and/or video content stored on a web server.




                                                 16
https://netnut.io/

        30.     Specifically, upon information and belief, as shown above, a NetNut customer

client device can fetch content from a web server using the NetNut Rotating Residential or ISP

Proxy service. This content can comprise multiple web-pages or portions of web-pages, each of

which has its own distinct URL. Upon information and belief, the NetNut proxy servers shown

for example in the below diagram are configured to anonymously fetch a plurality of content

identified by different URLs from web servers using a plurality of DiVi Redirectors and or

residential proxy client devices, all of which are intermediate devices. Upon information and

belief, each NetNut proxy service customer can execute an application such as NetNut’s Chrome

extension or other application, including those configured consistent with the instructions provided

by NetNut on its integrations webpage. That application identifies the multiple URLs or parts of

content and sends those URLs to the NetNut proxy server over the Internet as part of HTTP or

HTTPS requests, which are standard Internet protocols associated with the world wide web. In

addition, upon information and belief, as shown above, the requesting client device can identify a

geographic location, such as country, state or city and include that geographic location with the

HTTP or HTTPS requests. In response to sending these requests, the NetNut Proxy customer

receives the requested content from the NetNut server.




                                                17
https://www.sec.gov/Archives/edgar/data/1725332/000121390020008198/f20f2019_safetgroup.

htm

                                          COUNT I
                 (Infringement of US. Patent Nos. 10,257,319 - the ’319 Patent)

       31.     Bright Data repeats and re-alleges the allegations contained in paragraphs 1–30 of

this First Amended Complaint as if fully set forth herein.

       32.     The ’319 Patent entitled “System Providing Faster and More Efficient Data

Communication” was duly and legally issued by the U.S. Patent and Trademark Office on April

9, 2019, from Application No. 15/957,945 filed on April 20, 2018, which is a continuation of

application No. 14/025,109, which is a division of application No. 12/836,059, now Pat. No.

8,560,604, all of which claim priority to provisional application 61/249,624 filed on October 8,

2009. A true and accurate copy of the ’319 Patent is attached hereto as Exhibit A.

       33.     Each and every claim of the ’319 Patent is valid and enforceable, and each enjoys

a statutory presumption of validity under 35 U.S.C. § 282.


                                                18
       34.     Bright Data is the sole owner of the ’319 Patent and has rights to past damages.

       35.     Claim 1 of the ’319 Patent recites:

       A method for use with a first client device, for use with a first server that comprises
       a web server that is a Hypertext Transfer Protocol (HTTP) server that responds to
       HTTP requests, the first server stores a first content identified by a first content
       identifier, and for use with a second server, the method by the first client device
       comprising:

       receiving, from the second server, the first content identifier;

       sending, to the first server over the Internet, a Hypertext Transfer Protocol (HTTP)
              request that comprises the first content identifier;

       receiving, the first content from the first server over the Internet in response to the
               sending of the first content identifier; and

       sending, the first content by the first client device to the second server, in response
              to the receiving of the first content identifier.

       36.     As described in the above paragraphs, upon information and belief, the Accused

Services comprise numerous proxy client devices each of which is a client device (“first client

device”) and a server of the Accused Services (“second server”). An HTTP web server that

responds to HTTP requests (“first server”) stores content (“first content”) identified by an identifier

(“first content identifier”), such as for example an HTTP web server storing a webpage identified

by a URL address. As described above, a first client device (a) receives a first content identifier

from the second server of the Accused Services; (b) sends an HTTP request comprising the first

content identifier to the first server; (c) receives the first content from the first server over the

Internet in response to the sending of the first content identifier; and (d) sends the first content to

the second server of the Accused Services in response to receiving the first content identifier.

       37.     The ’319 Patent includes a number of dependent claims. In addition to practicing

the steps of independent claim 1, upon information and belief as discussed above, NetNut and




                                                  19
others using NetNut’s Accused Services also practice at least the steps of the following dependent

claims:

          Claim 17: The method according to claim 1, further comprising periodically

          communicating between the second server and the first client device.

          Claim 24: The method according to claim 1, further comprising establishing, by the first

          client device, a Transmission Control Protocol (TCP) connection with the second server

          using TCP/IP protocol.

          Claim 25: The method according to claim 1, wherein the first or second server is a

          Transmission Control Protocol/Internet Protocol (TCP/IP) server, wherein the first client

          device communicates over the Internet with the first or second server based on, or

          according to, using TCP/IP protocol or connection.

          Claim 27: The method according to claim 1, wherein the steps are sequentially executed.

          38.    NetNut has actual notice of the ’319 Patent since before it developed and released

the Accused Services and knows at least from this Complaint, in addition to the means set forth

above, that implementation of the Accused Services using residential proxy devices in the United

States would infringe at least claims 1, 17, 24, 25, and 27 of the ’319 Patent.

          39.    Upon information and belief NetNut sold, offered to sell, used, tested, and imported

and continue to sell, offer to sell, use, test, and import the Accused Services into the United States.

NetNut provides the rotating residential proxy service of the Accused Services to their customers

with the knowledge and intent that the customers’ implementation of the service using residential

proxies located in the U.S. would infringe the ’319 Patent.

          40.    NetNut has been and is now infringing at least directly, indirectly and/or

contributorily, one or more claims including at least claims 1, 17, 24, 25 and 27 of the ’319 Patent,



                                                  20
both literally and/or under the doctrine of equivalents, by implementing the Accused Services

using residential proxy devices located in the United States without authority and/or license from

Bright Data and are liable to Bright Data under 35 U.S.C. § 271 et seq., including but not limited

to under Sections 271(a), (b), (c) and/or (g). On information and belief, NetNut has been aware of

the Asserted Patents prior to the development and release of the Accused Services yet has

continued to infringe and cause proxies in the United States under NetNut’s control to infringe

claims of the Asserted Patents and has induced infringement. On further information and belief,

NetNut has developed, used, offered to sell and/or sold within the United States and imported into

the United States a component of a patented machine, manufacture, combination or composition,

or a material or apparatus for use in practicing a patented process, constituting a material part of

the invention, knowing the same to be especially made or especially adapted for use in an

infringement of such patent, and not a staple article or commodity of commerce suitable for

substantial noninfringing use. On further information and belief, NetNut also imports and sells as

well as causes others to use within the United States a product which is made by a process patented

in the United States whereby the importation, offer to sell, sale, and/or use of the product occurs

during the term of such process patent. Such products may include for example, the set of results

sent to customers in the United States as created and assembled by the patented methods of the

Asserted Patents.

       41.     As a result of NetNut’s infringement of the ’319 Patent, Bright Data has suffered

and continues to suffer damages. Thus, Bright Data is entitled to recover from NetNut the damages

Bright Data sustained as a result of NetNut’s wrongful and infringing acts in an amount no less

than its lost profits and/or a reasonable royalty, together with interest and costs fixed by this Court

together with increased damages up to three times under 35 U.S.C. § 284.



                                                  21
        42.     Bright Data has suffered damage because of the infringing activities of NetNut, its

officers, agents, servants, employees, associates, partners, and other persons who are in active

concert or participation therewith, and Bright Data will continue to suffer irreparable harm for

which there is no adequate remedy at law unless NetNut’s infringing activities are preliminarily

and permanently enjoined by this Court. Bright Data practices the Asserted Patents and, on

information and belief, practicing the Asserted Patents is required for a competitive offering of

residential proxy services, a technology and market that Bright Data created. Non-exclusive

examples of such damage include loss of market share, lowered prices and the inability of Bright

Data to obtain the revenues and profits it would have been able to obtain but for the infringement,

lost sales in other services when customers did not purchase residential proxy services from Bright

Data as a result of the infringement, loss of convoyed sales of other related services that Bright

Data would have sold but for the infringement, and harm to Bright Data’s reputation as a result of

NetNut’s lower quality and less protected offerings damaging the reputation and perception of the

residential proxy service market that relies on the technology of the Asserted Patents.

        43.     Upon information and belief, NetNut’s infringement of the ’319 Patent is and

continues to be deliberate and willful because NetNut was and is on notice of the ’319 Patent

before it developed and introduced the Accused Services in the United States, yet NetNut continues

to infringe the ’319 Patent. This case should be deemed an exceptional case under 35 U.S.C. §

285, and if so, Bright Data is entitled to recover its attorneys’ fees.

                                           COUNT II
                  (Infringement of U.S. Patent No. 10,484,510 - the ’510 Patent)

        44.     Bright Data repeats and re-alleges the allegations contained in paragraphs 1–43 of

this First Amended Complaint as if fully set forth herein.




                                                  22
       45.     The ’510 Patent entitled “System Providing Faster and More Efficient Data

Communication” was duly and legally issued by the U.S. Patent and Trademark Office on

November 19, 2019, from Application No. 16/278,107 filed on February 17, 2019, a continuation

of Application No. 15/957,945, now Pat. No. 10,257,319, which is a continuation of application

No. 14/025,109, now Pat. No. 10,069,936, which is a divisional of application No. 12/836,059,

now Pat. No. 8,560,604, all of which claim priority to provisional application 61/249,624 filed on

October 8, 2009. A true and accurate copy of the ’510 Patent is attached hereto as Exhibit B.

       46.     This Court previously found Claim 13 of the ’510 Patent indefinite, though the

determination is subject to appellate review. Otherwise, each and every claim of the ’510 Patent

is valid and enforceable, and each enjoys a statutory presumption of validity under 35 U.S.C. §

282.

       47.     Bright Data is the sole owner of the ’510 Patent and has rights to past damages.

       48.     Claim 1 of the ’510 Patent recites:

       A method for use with a web server that responds to Hypertext Transfer Protocol
       (HTTP) requests and stores a first content identified by a first content identifier, the
       method by a first client device comprising:

       establishing a Transmission Control Protocol (TCP) connection with a second
               server;

       sending, to the web server over an Internet, the first content identifier;

       receiving, the first content from the web server over the Internet in response to the
               sending of the first content identifier; and

       sending the received first content, to the second server over the established TCP
              connection, in response to the receiving of the first content identifier.

       49.     As described in the above paragraphs, upon information and belief, the Accused

Services comprise numerous proxy devices each of which is a client device (“first client device”)

and a server of the Accused Services (“second server”). A web server that responds to HTTP


                                                 23
requests (“web server”) stores content (“first content”) identified by an identifier (“first content

identifier”), such as for example an HTTP web server storing a webpage identified by a URL

address. As described above, a first client device (a) establishes a TCP connection with a second

server; (b) sends the first content identifier to the web server; (c) receives the first content from

the web server over the Internet in response to the sending of the first content identifier; and (d)

sends the received first content to the second server of the Accused Services over the established

TCP connection in response to the receiving of the first content identifier.

       50.     The ’510 Patent includes a number of dependent claims. In addition to practicing

the steps of independent claim 1, upon information and belief as discussed above, NetNut and

others using NetNut’s Accused Services mentalities also practice at least the steps of the following

dependent claims:

       Claim 8: The method according to claim 1, further comprising periodically communicating

       over the TCP connection between the second server and the first client device.

       Claim 15: The method according to claim 1, further comprising receiving, by the first

       client device from the second server over the established TCP connection, the first content

       identifier.

       Claim 16: The method according to claim 1, wherein the sending of the first content

       identifier to the web server over the Internet comprises sending a Hypertext Transfer

       Protocol (HTTP) request that comprises the first content identifier.

       Claim 18: The method according to claim 1, wherein the second server is a Transmission

       Control Protocol/Internet Protocol (TCP/IP) server that communicates over the Internet

       based on, or according to, using TCP/IP protocol or connection, and wherein the first client

       device is a Transmission Control Protocol/Internet Protocol (TCP/IP) client that



                                                 24
       communicates with the second server over the Internet based on, or according to, TCP/IP

       protocol.

       Claim 20: The method according to claim 1, wherein the first content comprises web-

       page, audio, or video content, and wherein the first content identifier comprises a Uniform

       Resource Locator (URL).

       Claim 22: The method according to claim 1, further comprising storing, operating, or

       using, a client operating system.

       Claim 23: The method according to claim 1, wherein the steps are sequentially executed.

       51.      Upon information and belief, NetNut has had actual notice of the ’510 Patent since

before it developed and released the Accused Instrumentalities and knows at least from the

Complaint that implementation of the Accused Instrumentalities using residential proxy devices

in the United States would infringe at least claims 1, 8, 15, 16, 18, 20, 22 and 23 of the ’510 Patent.

       52.      Upon information and belief NetNut sold, offered to sell, used, tested, and imported

and continue to sell, offer to sell, use, test, and import the Accused Instrumentalities into the United

States. NetNut provides the residential service of the Accused Instrumentalities to their customers

with the knowledge and intent that the customers’ implementation of the service using residential

proxies located in the U.S. would infringe the ’510 Patent.

       53.      NetNut has been and is now infringing at least directly, indirectly and/or

contributorily, one or more claims including at least claims 1, 8, 15, 16, 18, 20, 22 and 23 of the

’510 Patent, both literally and/or under the doctrine of equivalents, by implementing the Accused

Instrumentalities using residential proxy devices located in the United States without authority

and/or license from Bright Data and are liable to Bright Data under 35 U.S.C. § 271 et seq.,

including but not limited to under Sections 271(a), (b), (c) and/or (g). On information and belief,



                                                  25
NetNut has been aware of the Asserted Patents since before the development and release of the

Accused Instrumentalities in the United States yet has continued to infringe and cause proxies in

the United States under NetNut’s control to infringe claims of the Asserted Patents and has induced

infringement. On further information and belief, NetNut has developed, used, offered to sell

and/or sold within the United States and imported into the United States a component of a patented

machine, manufacture, combination or composition, or a material or apparatus for use in practicing

a patented process, constituting a material part of the invention, knowing the same to be especially

made or especially adapted for use in an infringement of such patent, and not a staple article or

commodity of commerce suitable for substantial noninfringing use. On further information and

belief, NetNut also imports and sells as well as causes others to use within the United States a

product which is made by a process patented in the United States whereby the importation, offer

to sell, sale, and/or use of the product occurs during the term of such process patent. Such products

may include for example, the set of results sent to customers in the United States as created and

assembled by the patented methods of the Asserted Patents.

       54.     As a result of NetNut’s infringement of the ’510 Patent, Bright Data has suffered

and continues to suffer damages. Thus, Bright Data is entitled to recover from NetNut the damages

Bright Data sustained as a result of NetNut’s wrongful and infringing acts in an amount no less

than its lost profits and/or a reasonable royalty, together with interest and costs fixed by this Court

together with increased damages up to three times under 35 U.S.C. § 284.

       55.     Bright Data has suffered damage because of the infringing activities of NetNut, its

officers, agents, servants, employees, associates, partners, and other persons who are in active

concert or participation therewith, and Bright Data will continue to suffer irreparable harm for

which there is no adequate remedy at law unless NetNut’s infringing activities are preliminarily



                                                  26
and permanently enjoined by this Court. Bright Data practices the Asserted Patents and, on

information and belief, practicing the Asserted Patents is required for a competitive offering of

residential proxy services, a technology and market that Bright Data created. Non-exclusive

examples of such damage include loss of market share, lowered prices and the inability of Bright

Data to obtain the revenues and profits it would have been able to obtain but for the infringement,

lost sales in other services when customers did not purchase residential proxy services from Bright

Data as a result of the infringement, loss of convoyed sales of other related services that Bright

Data would have sold but for the infringement, and harm to Bright Data’s reputation as a result of

NetNut’s lower quality and less protected offerings damaging the reputation and perception of the

residential proxy service market that relies on the technology of the Asserted Patents.

       56.     NetNut’s infringement of the ’510 Patent is and continues to be deliberate and

willful because NetNut was and is on notice of the ’510 Patent at least as early as the Complaint,

yet NetNut continues to infringe the ’510 Patent. This case should be deemed an exceptional case

under 35 U.S.C. § 285, and if so, Bright Data is entitled to recover its attorneys’ fees.

                                          COUNT III
                 (Infringement of U.S. Patent Nos. 10,491,713 - the ’713 Patent)

       57.     Bright Data repeats and re-alleges the allegations contained in paragraphs 1–56 of

this Amended Complaint as if fully set forth herein.

       58.     The ’713 Patent entitled “System Providing Faster and More Efficient Data

Communication” was duly and legally issued by the U.S. Patent and Trademark Office on

November 26, 2019, from Application No. 16/396,695 filed on April 28, 2019, which is a

continuation of application No. 15/957,942, now Pat. No. 10,313,484, which is a continuation of

application No. 14/025,109, now Pat. No. 10,069,936, which is a division of application No.

12/836,059, now Pat. No. 8,560,604, all of which claim priority to provisional application

                                                 27
61/249,624 filed on October 8, 2009. A true and accurate copy of the ’713 Patent is attached

hereto as Exhibit C.

       59.     Each and every claim of the ’713 Patent is valid and enforceable, and each enjoys

a statutory presumption of validity under 35 U.S.C. § 282.

       60.     Bright Data is the sole owner of the ’713 Patent and has rights to past damages.

       61.     Claim 1 of the ’713 Patent recites:

       A method for use with a requesting client device that comprises an HTTP client and is
       identified over the Internet by a first Internet Protocol (IP) address, for use with a first
       server that is a web server that is Hypertext Transfer Protocol (HTTP) or Hypertext
       Transfer Protocol Secure (HTTPS) server that respectively responds to HTTP or HTTPS
       requests and stores a first content identified by a first content identifier, for use with a
       second server distinct from the first web server and identified in the Internet by a second
       IP address, the method by the requesting client device comprising:

                       identifying, an HTTP or HTTPS request for the first content

                       sending, to the second server using the second IP address over the Internet
               in response to the identifying, the first content identifier and a geographical
               location; and

                       receiving, over the Internet in response to the sending, from the second
               server via a first client device, the part of, or the whole of, the first content.

       62.     As described in the above paragraphs, upon information and belief, the Accused

Services comprise customers using a client device (“requesting client device”) with a first IP

address; an HTTP or HTTPS web server that responds to HTTP/HTTPs requests (“first server”)

that stores content (“first content”) identified by an identifier (“first content identifier”), such as

for example an HTTP/HTTPS web server storing a webpage; a server of the Accused Services

identified by a second IP address (“second server”); and numerous proxy client devices each of

which is a client device “first client device”). As described above, a requesting client device (a)

identifies an HTTP or HTTPS request for the first content; (b) sends to the second server using the

second IP address over the Internet the first content identifier and a geographic location; (c)


                                                  28
receives over the Internet the part of or whole of the first content from the second server via a first

client device.

       63.       The ’713 Patent includes a number of dependent claims. In addition to practicing

the steps of independent claim 1, upon information and belief as discussed above, NetNut and

others using NetNut’s Accused Services mentalities also practice at least the steps of the following

dependent claims:

       Claim 11: The method according to claim 1, further comprising periodically

       communicating between the second server and the requesting client device.

       Claim 24: The method according to claim 1, further comprising establishing, by the

       requesting client device, a Transmission Control Protocol (TCP) connection with the

       second server or with the first client device using TCP/IP protocol.

       Claim 27: The method according to claim 1, wherein the first or second server is a

Transmission Control Protocol/Internet Protocol (TCP/IP) server and communicates over the

Internet with the requesting client device based on, or according to, using TCP/IP protocol or

connection.

       64.       NetNut has actual notice of the ’713 Patent since before it developed and released

the Accused Services and knows at least from this First Amended Complaint, in addition to the

means set forth above, that implementation of the Accused Services using residential proxy

devices in the United States would infringe at least claim 1 of the ’713 Patent.

       65.       Upon information and belief NetNut sold, offered to sell, used, tested, and imported

and continue to sell, offer to sell, use, test, and import the Accused Services into the United States.

NetNut provides the rotating residential proxy service of the Accused Services to their customers




                                                  29
with the knowledge and intent that the customers’ implementation of the service using residential

proxies located in the U.S. would infringe the ’713 Patent.

       66.     NetNut has been and is now infringing at least directly, indirectly and/or

contributorily, one or more claims including at least claim 1 of the ’713 Patent, both literally and/or

under the doctrine of equivalents, by implementing the Accused Services using residential proxy

devices located in the United States without authority and/or license from Bright Data and are

liable to Bright Data under 35 U.S.C. § 271 et seq., including but not limited to under Sections

271(a), (b), (c) and/or (g). On information and belief, NetNut has been aware of at least some of

the Asserted Patents prior to the development and release of the Accused Services and of the ’713

Patent at least as of the filing of this First Amended Complaint yet has continued to infringe and

cause proxies in the United States under NetNut’s control to infringe claims of the Asserted Patents

and has induced infringement. On further information and belief, NetNut has developed, used,

offered to sell and/or sold within the United States and imported into the United States a component

of a patented machine, manufacture, combination or composition, or a material or apparatus for

use in practicing a patented process, constituting a material part of the invention, knowing the same

to be especially made or especially adapted for use in an infringement of such patent, and not a

staple article or commodity of commerce suitable for substantial noninfringing use. On further

information and belief, NetNut also imports and sells as well as causes others to use within the

United States a product which is made by a process patented in the United States whereby the

importation, offer to sell, sale, and/or use of the product occurs during the term of such process

patent. Such products may include for example, the set of results sent to customers in the United

States as created and assembled by the patented methods of the Asserted Patents.




                                                  30
       67.     As a result of NetNut’s infringement of the ’713 Patent, Bright Data has suffered

and continues to suffer damages. Thus, Bright Data is entitled to recover from NetNut the damages

Bright Data sustained as a result of NetNut’s wrongful and infringing acts in an amount no less

than its lost profits and/or a reasonable royalty, together with interest and costs fixed by this Court

together with increased damages up to three times under 35 U.S.C. § 284.

       68.     Bright Data has suffered damage because of the infringing activities of NetNut, its

officers, agents, servants, employees, associates, partners, and other persons who are in active

concert or participation therewith, and Bright Data will continue to suffer irreparable harm for

which there is no adequate remedy at law unless NetNut’s infringing activities are preliminarily

and permanently enjoined by this Court. Bright Data practices the Asserted Patents and, on

information and belief, practicing the Asserted Patents is required for a competitive offering of

residential proxy services, a technology and market that Bright Data created. Non-exclusive

examples of such damage include loss of market share, lowered prices and the inability of Bright

Data to obtain the revenues and profits it would have been able to obtain but for the infringement,

lost sales in other services when customers did not purchase residential proxy services from Bright

Data as a result of the infringement, loss of convoyed sales of other related services that Bright

Data would have sold but for the infringement, and harm to Bright Data’s reputation as a result of

NetNut’s lower quality and less protected offerings damaging the reputation and perception of the

residential proxy service market that relies on the technology of the Asserted Patents.

       69.     Upon information and belief, NetNut’s infringement of the ’713 Patent is and

continues to be deliberate and willful because NetNut was and is on notice of the ’713 Patent at

least as of this First Amended Complaint, yet NetNut continues to infringe the ’713 Patent. This




                                                  31
case should be deemed an exceptional case under 35 U.S.C. § 285, and if so, Bright Data is entitled

to recover its attorneys’ fees.

                                           COUNT IV
                  (Infringement of U.S. Patent No. 11,050,852 - the ’852 Patent)

        70.     Bright Data repeats and re-alleges the allegations contained in paragraphs 1–69 of

this Amended Complaint as if fully set forth herein.

        71.     The ’852 Patent entitled “System Providing Faster and More Efficient Data

Communication” was duly and legally issued by the U.S. Patent and Trademark Office on June

29, 2021, from Application No. 16/600,506 filed on October 13, 2019, which is a continuation of

application No. 16/396,695, now Pat. No. 10,491,713, which is a continuation of application No.

15/957,942, now Pat. No. 10,313,484, which is a continuation of application No. 14/025,109, now

Pat. No. 10,069,936, which is a division of application No. 12/836,059, now Pat. No. 8,560,604,

all of which claim priority to provisional application 61/249,624 filed on October 8, 2009. A true

and accurate copy of the ’852 Patent is attached hereto as Exhibit D.

        72.     Each and every claim of the ’852 Patent is valid and enforceable, and each enjoys

a statutory presumption of validity under 35 U.S.C. § 282.

        73.     Bright Data is the sole owner of the ’852 Patent and has rights to past damages.

        74.     Claim 1 of the ’852 Patent recites:

                A method by a requesting client device that is identified over the Internet by a first
        Internet Protocol ( IP ) address, for use with a first server that is a web server that is
        Hypertext Transfer Protocol (HTTP) or Hypertext Transfer Protocol Secure (HTTPS)
        server that respectively responds to HTTP or HTTPS requests and stores a first content
        identified by a first Uniform Resource Locator (URL), and for use with a second server
        distinct from the first web server and identified in the Internet by a second IP address, the
        method by the requesting client device comprising:

                       generating an HTTP or HTTPS request that comprises the first URL and a
                geographical location;



                                                 32
                      sending, to the second server using the second IP address over the Internet,
               the generated HTTP or HTTPS; and

                       receiving, over the Internet in response to the sending, from the second
               server via a first client device, part of, or whole of, the first content,

                      wherein the first content comprises a web-page, an audio content, or a video
               content.

       75.     As described in the above paragraphs, upon information and belief, the Accused

Services comprise customers using a client device (“requesting client device”) with a first IP

address; an HTTP or HTTPS web server that responds to HTTP/HTTPs requests (“first server”)

that stores content (“first content”) identified by an identifier (“first content identifier”), such as

for example an HTTP/HTTPS web server storing a webpage identified by a URL; a server of the

Accused Services identified by a second IP address (“second server”); and numerous proxy client

devices each of which is a client device (“first client device”). As described above, a requesting

client device (a) generates an HTTP or HTTPS request that comprises the first URL and a

geographic location; (b) sends to the second server using the second IP address over the Internet

the generated HTTP/HTTPS request; (c) receives over the Internet the part of or whole of the first

content from the second server via a first client device; and (d) the first content comprises a web-

page, audio content, or video content.

       76.     The ’852 Patent includes a number of dependent claims. In addition to practicing

the steps of independent claim 1, upon information and belief as discussed above, NetNut and

others using NetNut’s Accused Services mentalities also practice at least the steps of the following

dependent claims:

       Claim 14: The method according to claim 1, further comprising periodically

       communicating between the second server and the requesting client device.




                                                  33
       Claim 25: The method according to claim 1, further comprising establishing, by the

       requesting client device, a Transmission Control Protocol (TCP) connection with the

       second server or with the first client device using TCP/IP protocol.

       Claim 28: The method according to claim 1, wherein the first or second server is a

       Transmission Control Protocol/Internet Protocol (TCP/IP) server and communicates over

       the Internet with the requesting client device based on, or according to, using TCP/IP

       protocol or connection.

       77.     NetNut has actual notice of the ’852 Patent since at least the filing of this First

Amended Complaint and knows at least from this First Amended Complaint, in addition to the

means set forth above, that implementation of the Accused Services using residential proxy

devices in the United States would infringe at least claim 1 of the ’852 Patent.

       78.     Upon information and belief NetNut sold, offered to sell, used, tested, and imported

and continue to sell, offer to sell, use, test, and import the Accused Services into the United States.

NetNut provides the rotating residential proxy service of the Accused Services to their customers

with the knowledge and intent that the customers’ implementation of the service using residential

proxies located in the U.S. would infringe the ’852 Patent.

       79.     NetNut has been and is now infringing at least directly, indirectly and/or

contributorily, one or more claims including at least claim 1 of the ’852 Patent, both literally and/or

under the doctrine of equivalents, by implementing the Accused Services using residential proxy

devices located in the United States without authority and/or license from Bright Data and are

liable to Bright Data under 35 U.S.C. § 271 et seq., including but not limited to under Sections

271(a), (b), (c) and/or (g). On information and belief, NetNut has been aware of at least some of

the Asserted Patents prior to the development and release of the Accused Services and this patent



                                                  34
at least as of the filing of the First Amended Complaint, yet has continued to infringe and cause

proxies in the United States under NetNut’s control to infringe claims of the Asserted Patents and

has induced infringement. On further information and belief, NetNut has developed, used, offered

to sell and/or sold within the United States and imported into the United States a component of a

patented machine, manufacture, combination or composition, or a material or apparatus for use in

practicing a patented process, constituting a material part of the invention, knowing the same to be

especially made or especially adapted for use in an infringement of such patent, and not a staple

article or commodity of commerce suitable for substantial noninfringing use.               On further

information and belief, NetNut also imports and sells as well as causes others to use within the

United States a product which is made by a process patented in the United States whereby the

importation, offer to sell, sale, and/or use of the product occurs during the term of such process

patent. Such products may include for example, the set of results sent to customers in the United

States as created and assembled by the patented methods of the Asserted Patents.

       80.     As a result of NetNut’s infringement of the ’852 Patent, Bright Data has suffered

and continues to suffer damages. Thus, Bright Data is entitled to recover from NetNut the damages

Bright Data sustained as a result of NetNut’s wrongful and infringing acts in an amount no less

than its lost profits and/or a reasonable royalty, together with interest and costs fixed by this Court

together with increased damages up to three times under 35 U.S.C. § 284.

       81.     Bright Data has suffered damage because of the infringing activities of NetNut, its

officers, agents, servants, employees, associates, partners, and other persons who are in active

concert or participation therewith, and Bright Data will continue to suffer irreparable harm for

which there is no adequate remedy at law unless NetNut’s infringing activities are preliminarily

and permanently enjoined by this Court. Bright Data practices the Asserted Patents and, on



                                                  35
information and belief, practicing the Asserted Patents is required for a competitive offering of

residential proxy services, a technology and market that Bright Data created. Non-exclusive

examples of such damage include loss of market share, lowered prices and the inability of Bright

Data to obtain the revenues and profits it would have been able to obtain but for the infringement,

lost sales in other services when customers did not purchase residential proxy services from Bright

Data as a result of the infringement, loss of convoyed sales of other related services that Bright

Data would have sold but for the infringement, and harm to Bright Data’s reputation as a result of

NetNut’s lower quality and less protected offerings damaging the reputation and perception of the

residential proxy service market that relies on the technology of the Asserted Patents.

        82.     Upon information and belief, NetNut’s infringement of the ’852 Patent is and

continues to be deliberate and willful because NetNut was and is on notice of the ’852 Patent

before it developed and introduced the Accused Services in the United States, yet NetNut continues

to infringe the ’852 Patent. This case should be deemed an exceptional case under 35 U.S.C. §

285, and if so, Bright Data is entitled to recover its attorneys’ fees.

                                           COUNT V
                  (Infringement of U.S. Patent No. 11,044,346 - the ’346 Patent)

        83.     Bright Data repeats and re-alleges the allegations contained in paragraphs 1–82 of

this Amended Complaint as if fully set forth herein.

        84.     The ’346 Patent entitled “System Providing Faster and More Efficient Data

Communication” was duly and legally issued by the U.S. Patent and Trademark Office on June

22, 2021, from Application No. 17/146,701 filed on January 12, 2021, 2019, which is a

continuation of application No. 17/019,268, now Pat. No. 10,931,792, which is a continuation of

application No. 16/910,863, now Pat. No. 10,805,429, which is a continuation of application No.

16/600,504, which is a continuation of application No. 16/278,105, now Pat. No. 10,469,628,

                                                  36
which is a continuation of application No. 15/957,950, now Pat. No. 10,225,374, which is a

continuation of application No. 14 /025,109, now Pat . No. 10,069,936, which is a division of

application No. 12/836,059, now Pat. No. 8,560,604, all of which claim priority to provisional

application 61/249,624 filed on October 8, 2009. A true and accurate copy of the ’346 Patent is

attached hereto as Exhibit E.

       85.     Each and every claim of the ’346 Patent is valid and enforceable, and each enjoys

a statutory presumption of validity under 35 U.S.C. § 282.

       86.     Bright Data is the sole owner of the ’346 Patent and has rights to past damages.

       87.     Claim 1 of the ’346 Patent recites:

       A method for fetching a content by a requesting client device from a web server, the content
       comprises multiple parts where each part is identified by a distinct Uniform Resource
       Locator (URL), for use with a first server that is configured for anonymously fetching the
       multiple parts from the web server using intermediate devices, the method by the
       requesting client device comprising:

                       executing an application;

                       identifying the multiple parts as part of executing the application

                     sending, to the first server over the Internet, a geographical location and
               HTTP or HTTPS requests for the URLs of the multiple parts and; and

                       receiving, over the Internet in response to the sending and the geographical
               location, from the first server, the content,

                       wherein each of the multiple parts consists of, or comprises, a web-page or
               a portion thereof.

       88.     As described in the above paragraphs, upon information and belief, the Accused

Services comprise customers using a client device (“requesting client device”) that fetches content

(“first content”) from a web server identified by a URL for use with a first server (“first server”)

for anonymously fetching parts (“first content”) from the web server using intermediate devices.

As described above, a requesting client device (a) executes an application; (b) identifies the


                                                37
multiple parts that consist of a web-page or a portion of the web-page, as part of executing the

application; (c) sends, to the first server over the Internet, a geographical location and HTTP or

HTTPS requests for the URLs of the multiple parts; and (d) receives, in response to the sending

the geographical location, the content of multiple parts over the Internet.

       89.     Upon information and belief NetNut sold, offered to sell, used, tested, and imported

and continue to sell, offer to sell, use, test, and import the Accused Services into the United States.

NetNut provides the rotating residential proxy service of the Accused Services to their customers

with the knowledge and intent that the customers’ implementation of the service using residential

proxies located in the U.S. would infringe the ’346 Patent.

       90.     NetNut has been and is now infringing at least directly, indirectly and/or

contributorily, one or more claims including at least claim 1 of the ’346 Patent, both literally and/or

under the doctrine of equivalents, by implementing the Accused Services using residential proxy

devices located in the United States without authority and/or license from Bright Data and are

liable to Bright Data under 35 U.S.C. § 271 et seq., including but not limited to under Sections

271(a), (b), (c) and/or (g). On information and belief, NetNut has been aware of some of the

Asserted Patents prior to the development and release of the Accused Services and this patent at

least as of the filing of this First Amended Complaint yet has continued to infringe and cause

proxies in the United States under NetNut’s control to infringe claims of the Asserted Patents and

has induced infringement. On further information and belief, NetNut has developed, used, offered

to sell and/or sold within the United States and imported into the United States a component of a

patented machine, manufacture, combination or composition, or a material or apparatus for use in

practicing a patented process, constituting a material part of the invention, knowing the same to be

especially made or especially adapted for use in an infringement of such patent, and not a staple



                                                  38
article or commodity of commerce suitable for substantial noninfringing use.               On further

information and belief, NetNut also imports and sells as well as causes others to use within the

United States a product which is made by a process patented in the United States whereby the

importation, offer to sell, sale, and/or use of the product occurs during the term of such process

patent. Such products may include for example, the set of results sent to customers in the United

States as created and assembled by the patented methods of the Asserted Patents.

       91.     As a result of NetNut’s infringement of the ’346 Patent, Bright Data has suffered

and continues to suffer damages. Thus, Bright Data is entitled to recover from NetNut the damages

Bright Data sustained as a result of NetNut’s wrongful and infringing acts in an amount no less

than its lost profits and/or a reasonable royalty, together with interest and costs fixed by this Court

together with increased damages up to three times under 35 U.S.C. § 284.

       92.     Bright Data has suffered damage because of the infringing activities of NetNut, its

officers, agents, servants, employees, associates, partners, and other persons who are in active

concert or participation therewith, and Bright Data will continue to suffer irreparable harm for

which there is no adequate remedy at law unless NetNut’s infringing activities are preliminarily

and permanently enjoined by this Court. Bright Data practices the Asserted Patents and, on

information and belief, practicing the Asserted Patents is required for a competitive offering of

residential proxy services, a technology and market that Bright Data created. Non-exclusive

examples of such damage include loss of market share, lowered prices and the inability of Bright

Data to obtain the revenues and profits it would have been able to obtain but for the infringement,

lost sales in other services when customers did not purchase residential proxy services from Bright

Data as a result of the infringement, loss of convoyed sales of other related services that Bright

Data would have sold but for the infringement, and harm to Bright Data’s reputation as a result of



                                                  39
NetNut’s lower quality and less protected offerings damaging the reputation and perception of the

residential proxy service market that relies on the technology of the Asserted Patents.

        93.     Upon information and belief, NetNut’s infringement of the ’346 Patent is and

continues to be deliberate and willful because NetNut was and is on notice of the ’346 Patent at

least as of the filing of this First Amended Complaint, yet NetNut continues to infringe the ’346

Patent. This case should be deemed an exceptional case under 35 U.S.C. § 285, and if so, Bright

Data is entitled to recover its attorneys’ fees.


                                           COUNT VI
                       (False Advertising Under 15 U.S.C. § 1125(a) et seq.)

        94.     Bright Data repeats and re-alleges the allegations contained in paragraphs 1-93 of

this Amended Complaint as if fully set forth herein.

        95.     In Counts I-V, Bright Data alleges that the Accused Services, including NetNut’s

Rotating Residential Proxy service, infringes claims of the Asserted Patents by implementing the

Accused Services using rotating residential proxy devices located in the United States. In its recent

Motion to Dismiss for Lack of Personal Jurisdiction (Dkt. No. 24),




        96.     In the alternative, if NetNut’s statements

                                     are correct then NetNut has engaged in false advertising under

15 U.S.C. § 1125(a) by making false advertisements to the public at large, including Bright Data’s

customers. Through these false advertisements, Bright Data believes and thus avers that NetNut



                                                   40
has materially represented



       97.     Through its website, NetNut has falsely advertised the Accused Services to

customers in the United States, including Bright Data customers and potential customers

                                                 , stating specifically that the Accused Services are

“available in every country:”




   https://netnut.io/rotating-residential-proxies/.   This advertisement is contrary to NetNut’s

   statements in its filings in this Court (see ¶79) and the sworn statement of NetNut’s CEO, Mr.

   Barak Avitbul stating




   See Ex. A to Dkt. No. 24 at ¶8.

                                                 41
       103.      This case is exceptional, particularly given the willful nature of NetNut’s false

advertising. Bright Data is entitled to an award of attorneys’ fees as this case is exceptional under

15 U.S.C. § 1117(a).



                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff Bright Data respectfully requests that this Court enter:

       A. A judgment in favor of Bright Data that NetNut has and is infringing the Asserted

          Patents;

       B. A judgment declaring NetNut’s infringement to be willful;

       C. A judgment declaring that this case is exceptional within the meaning of 35 U.S.C. §

          285;

       D. A permanent injunction enjoining NetNut, its officers, directors, agents, servants,

          employees, associates, partners, and other persons who are in active concert or

          participation with NetNut including the officers, directors, agents, servants, employees

          and associates of NetNut’s partners, from infringing the Asserted Patents and/or such

          other equitable relief the Court determines is warranted in this case;

       E. A judgment and order requiring the NetNut to pay to Bright Data its damages, enhanced

          damages, costs, expenses, prejudgment and post-judgment interest, and attorneys’ fees,

          if applicable, for NetNut’s infringement of the Asserted Patents as provided under 35

          U.S.C. §284 and/or §285, and an accounting of ongoing post-judgment infringement;

       F. A judgment in favor of Bright Data that NetNut has engaged in false advertising against

           the public including Bright Data, and order requiring NetNut to pay monetary relief to

           Bright Data including (i) profits received by NetNut and/or damages sustained by



                                                 44
           Bright Data as a result of NetNut’s false advertising and (ii) damages in the form of

           money to be spent on corrective advertising, to dispel any actual confusion that may

           have already occurred among relevant consumers and in the marketplace by virtue of

           NetNut’s false advertising;

         G. That NetNut be found to have acted willfully in its false advertising, and that monetary

           relief for NetNut’s false advertising be increased due to the willful nature of NetNut’s

           false advertising pursuant to 15 U.S.C. § 1117;

       H. A permanent injunction enjoining NetNut, their officers, employees, agents,

           representatives, attorneys and others acting on its or their behalf, from committing

           further acts of false advertising described herein;

       I. A declaration that this is an exceptional case within the meaning of 35 U.S.C. § 285

           and/or other applicable laws, and that Bright Data is entitled to recover its reasonable

           attorney’s fees and costs upon prevailing in this action;

       J. Disgorgement of the amount by which NetNut have been unjustly enriched; and

       K. Any and all other relief, at law or in equity that this Court deems just or proper.

                                  DEMAND FOR JURY TRIAL

       Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Bright Data hereby

demands a trial by jury of all issues so triable.



 Dated: October 11, 2021                             Respectfully submitted,

                                                     By: /s/ J. Michael Woods


                                                     Elizabeth L. DeRieux
                                                     State Bar No. 05770585
                                                     Capshaw DeRieux, LLP

                                                    45
 114 E. Commerce Ave.
 Gladewater, TX 75647
 Telephone: 903-845-5770
 ederieux@capshawlaw.com

 J. Mark Mann
 G. Blake Thompson
 Mann | Tindel | Thompson
 300 West Main
 Henderson, TX 75652
 mark@themannfirm.com
 blake@themannfirm.com
 Office 903-657-8540
 Marshall Office 903-472-4294
 Tyler Office 903-596-0900
 Waco Office 254-776-3336

 Korula T. Cherian
 Robert Harkins
 RuyakCherian LLP
 1936 University Ave, Ste. 350
 Berkeley, CA 94704
 sunnyc@ruyakcherian.com
 bobh@ruyakcherian.com

 Thomas Dunham
 Ronald Wielkopolski
 J. Michael Woods
 Colby A. Davis
 RuyakCherian LLP
 1901 L St. NW, Suite 700
 Washington, DC 20036
 tomd@ruyakcherian.com
 ronw@ruyakcherian.com
 michaelw@ruyakcherian.com
 colbyd@ruyakcherian.com

 Attorneys for Plaintiff
 Bright Data Ltd.




46
                                    CERTIFICATE OF SERVICE

        I hereby certify that all counsel of record who are deemed to have consented to electronic

service are being served this 11th day of October, 2021, with a copy of this document via electronic

mail.



                                              /s/ J. Michael Woods


             CERTIFICATE OF AUTHORIZATION TO FILE UNDER SEAL

        I hereby certify that the foregoing document is authorized to be filed under seal pursuant

to the Unopposed Motion for Leave to File Under Seal being filed concurrently with this brief.

                                              /s/ J. Michael Woods




                                                47
